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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

IN RE: ETHIOPIAN AIRLINES                  Lead Case: 1:19-cv-02170 (Consolidated)
FLIGHT ET 302 CRASH
                                           Honorable Jorge L. Alonso

                                           Magistrate Judge Weisman




        BOEING’S REPLY IN SUPPORT OF ITS MOTION TO EXCLUDE
         PLAINTIFF’S EXPERT DR. RICHARD COCKERILL IN LEWIS
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       The Court should exclude Dr. Cockerill’s testimony, and Plaintiff’s response does not

show otherwise. As an initial matter, Plaintiff’s brief exceeds the 15-page limit set by local rule

and this Court. See L.R. 7.1. It should therefore be stricken.

       Plaintiff’s response fails on the merits, too. While Boeing understands that Ms. Lopez-

Lewis has suffered tremendous grief due to the loss of her husband, Plaintiff’s brief confirms that

Dr. Cockerill’s opinions are either unreliable or were improperly disclosed, so they must be

excluded under Rule 702, Rule 26, and this Court’s prior orders.

       First, Plaintiff’s response makes clear that while Dr. Cockerill claims to have performed a

differential diagnosis in forming his                     , he did not perform a proper differential

etiology in reaching his opinion of the                                      . Those are two very

different things. Plaintiff also emphasizes Dr. Cockerill’s use of              but ignores his

failure to follow key steps to assess relevant traumatic events. Similarly, Plaintiff admits that Dr.

Cockerill’s assessment                                but ignores his own admission that doing so

would bias his assessment. And while Plaintiff reiterates that



     . Nor should he be allowed to opine that these prior events

                     —an opinion at odds with those set forth in his report and raised for the first

time in his deposition. And contrary to Plaintiff’s arguments, Dr. Cockerill should have

performed symptom or performance validity testing since his diagnosis was made in the context

of litigation and raises complex issues about mental health and causation. He did not. For all

these reasons, the opinion that                                                       should be

excluded.




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       Second, it is unreliable for Dr. Cockerill to opine on

without ever speaking to those who work and socialize with Ms. Lopez-Lewis. Those individuals

would be best positioned to say whether                             Nor is there any support for

Plaintiff’s claim that Dr. Cockerill used the DSM-5 in reaching this opinion. And Plaintiff

provides no support for her arguments. This opinion should therefore be excluded too.

       Third, Plaintiff effectively concedes that Dr. Cockerill’s                        opinion is

an impermissible opinion about a future, unknown risk of harm that might never materialize.

Plaintiff also misunderstands the only paper Dr. Cockerill relies on to support this opinion,

which, at best, suggests that

His reliance on that paper is unreliable, and his l                   opinion must also be excluded.

       Fourth, Plaintiff says that Dr. Cockerill’s new opinions—that Ms. Lopez-Lewis will have

                                                                              —were not

improperly disclosed because they are mere “extension[s]” of his report. But that just admits that

they appear nowhere in his report. Forcing Boeing to anticipate and prepare for such “extension”

opinions would undermine the entire purpose of disclosure underlying Rule 26.

       The Court should strike Plaintiff’s response and grant Boeing’s motion.

I.     Plaintiff’s response brief exceeds the Court’s 15-page limit and should be stricken.

       Plaintiff’s response was filed on March 19—two days after the March 17 deadline. The

Court granted Plaintiff’s belated motion for an extension of time and allowed Boeing additional

time to reply, so that issue is resolved. ECF 2475. But there is another issue with Plaintiff’s

response: Plaintiff’s brief exceeds the 15-page limit. Under Local Rule 7.1, “[a]ny brief . . . that

does not comply with” the page limit “shall be filed subject to being stricken by the court.” And

this Court’s “[p]rocedures to be followed” warn that “[t]he 15-page limitation on all memoranda

contained in Local Rule 7.1 will be strictly enforced” and “[a] motion for leave to exceed that
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limit will not be granted unless warranted.” Judge Alonso’s Case Procedures, Memoranda of Law

and Citations.

       Plaintiff’s counsel have not moved for leave to file an overlength brief, provided any

reason why they failed to comply with the page limit (on top of the filing deadline), or shown

that a page extension is warranted. The Court should thus strike Plaintiff’s brief “because it

exceeds the page limit under Local Rule 7.1.” Nance v. United States, 2023 WL 5211606, at *9

(N.D. Ill.) (striking overlength brief); see also Transam. Corp. v. Nat’l Union Fire Ins. Co. of

Pittsburgh, Pa., 143 F.R.D. 189, 191 (N.D. Ill. 1992) (striking “plaintiffs’ memorandum in

opposition to defendant’s motion” when it was “in excess of 15 pages long”).

II.    If Plaintiff’s response is not stricken, it still fails on the merits.

       Even taking Plaintiff’s response brief on its merits, it fails to show that Dr. Cockerill’s

opinions are reliable or that they were properly disclosed.

       A.        Dr. Cockerill’s opinion that
                          is unreliable, and Plaintiff does not show otherwise.

       Plaintiff does not dispute that Dr. Cockerill was required to perform a differential

etiology in reaching his causation opinion. In fact, Plaintiff claims he did and insists that his

methodology is therefore reliable. Opp. at 7–8. But Dr. Cockerill confirmed that he performed a

differential diagnosis only in forming his                                Ex. 2 at 98:11–99:4. When

claiming he had performed a differential diagnosis, he explained he ruled out

                                               Id. But he did not state that he performed a

differential etiology in reaching his causation opinion, nor did he explain any methodology that

would include a differential diagnosis of causation.

       In any event, it is not enough for an expert simply to say he used a reliable methodology;

he “still must ‘faithfully apply the method to the facts at hand,’ and ‘rely on facts or data, as


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opposed to subjective impressions.’” In re Zimmer Nexgen Knee Implant Prods. Liab. Litig.,

2015 WL 5050214, at *2 (N.D. Ill.) (citation omitted); see also Crawford Supply Grp., Inc. v.

Bank of Am., 2011 WL 4840965, at *3 (N.D. Ill.) (a court must assess an expert’s “application of

that reasoning or methodology to the facts at issue”). And Plaintiff does not show that Dr.

Cockerill reliably performed a differential etiology.

        To start, Plaintiff makes much of Dr. Cockerill’s use of               but ignores his failure

to follow key parts of it. Opp. at 7–8, 11. Plaintiff does not address Dr. Cockerill’s failure to use




                                                                                      Mot. at 7. By

failing to use these tools to account for

                                                 —as Plaintiff admits. Id.; see Opp. at 8.

        It is no answer to say that it was proper to



             Opp. at 8. This does not address Dr. Cockerill’s admission that

                         See Mot. at 7

                                                                      That is not a proper

differential etiology.

        Plaintiff’s case Willis v. BNSF Railway Co. is no help either. Opp. at 9. In Willis, the issue

was simply whether a treating physician must “understand every detail—perhaps even have

personal knowledge—about the work Plaintiff was doing when” he felt pain in his shoulder to

opine on the cause of his pain. 2013 WL 869952, at *5 (C.D. Ill.). The court said the physician

did not need to have such “immaterial” and “detailed non-medical information in order to opine



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on medical causation” when there was “single discrete event.” Id. In contrast, Dr. Cockerill

admitted that Ms. Lopez-Lewis

                                                               See, e.g., Ex. 2 at 111:23–112:6. So

unlike Willis, this is a case where there are “multiple potential etiologies,” not just “a single,

discrete event.” Id. at *4. Nothing in Willis rescues Dr. Cockerill’s causation opinion.

        To save his opinion, Plaintiff claims that Dr. Cockerill

                  Opp. at 9–10. But even if he did, Plaintiff does not explain how he

systematically ruled in or ruled out these events. All Plaintiff offers is a host of conclusory

statements in this regard. See, e.g., id. (Dr. Cockerill




       ). Plaintiff’s argument boils down to this:

                                                                                              Id.

at 10. But that is not enough. An expert must “explain why he reached [his] conclusion on the

basis of a reasoned application of scientific, technical, or other specialized knowledge.” Mintel

Int’l Grp., Ltd. v. Neergheen, 636 F. Supp. 2d 677, 685 (N.D. Ill. 2009).

        Dr. Cockerill offered no such explanation. He offers an opinion “connected to existing

data only by the ipse dixit of the expert,” which is inadmissible under Rule 702. In re Dealer

Mgmt. Sys. Antitrust Litig., 581 F. Supp. 3d 1029, 1083 (N.D. Ill. 2022) (excluding expert

opinion on that basis). And that problem is compounded by his incomplete knowledge of Ms.

Lopez-Lewis’s military background. It is in no way “misleading” for Boeing to argue “that Dr.

Cockerill was unaware of Yalena’s military service,” as Plaintiff claims. Opp. at 10. Plaintiff

does not dispute that Dr. Cockerill did not know Ms. Lopez-Lewis had combat experience, for



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example. That lack of knowledge underscores the unreliability of his purported differential

etiology: an expert cannot rule out alternative potential causes that he didn’t know exist. See,

e.g., Harris v. Stryker Spine, 39 F. Supp. 3d 846, 854 (S.D. Miss. 2014) (finding expert did not

perform a reliable differential etiology where he was “unaware” of the details of a potential

cause).

          And to be clear, Dr. Cockerill’s report did not disclose any differential etiology either—as

it should have, if that was really his methodology. See Fed. R. Civ. P. 26(a)(2)(B) (an expert’s

“report must contain . . . a complete statement of all opinions the witness will express and the

basis and reasons for them”). At best, his report indicates that he and Ms. Lopez-Lewis

                                                          but it does not discuss or explain if he

ruled in and ruled out those events. And courts exclude expert testimony when the expert failed

to disclose the “basis and reasons” for his conclusions, as Dr. Cockerill did here. See Meyers v.

Nat’l R.R. Passenger Corp. (Amtrak), 619 F.3d 729, 735 (7th Cir. 2010).

          Plaintiff also suggests, with no support, that this is acceptable because Dr. Cockerill



                       Opp. at 7, 10. But as Boeing explained, this is a new opinion that was not

disclosed in Dr. Cockerill’s report, so it must be excluded. Mot. at 9–10. Indeed, like his

assessment, his report                                                                . As it relates to

causation, the purpose of the report was to determine



Ex. 1 at 1. The report emphasizes that




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                             Id. at 7–8 (emphasis added). Nothing in the report suggests that Dr.

Cockerill was offering an opinion that

       Plaintiff does not dispute or respond to this argument, so she “waives any opposition” to

and “concedes” this point. Hodges v. Archer Daniels Midland Co., 474 F. Supp. 3d 956, 967

(C.D. Ill. 2020) (cleaned up); see also Bonte v. U.S. Bank, N.A., 624 F.3d 461, 466 (7th Cir.

2010) (“[f]ailure to respond to an argument . . . results in waiver,” and “silence” on an argument

means it is “conceded”). And in any event, Plaintiff does not explain why or how this new

opinion could cure Dr. Cockerill’s failure to systematically rule in and rule out other traumatic

events. In short, Dr. Cockerill’s inconsistent and improperly disclosed opinion that

                                              cannot save his causation opinion.

       Plaintiff also reiterates that

                     Opp. at 10. Yet despite the importance of timing to Dr. Cockerill’s opinion,

Plaintiff does not address Boeing’s argument that a temporal relationship is insufficient to

establish cause (Mot. at 10), which means they waive that issue too. And again, Plaintiff makes

no attempt to explain how Dr. Cockerill can rely on timing to opine that



                                                              Id. at 6. If symptoms can appear well

after the triggering event, then Dr. Cockerill cannot reliably rule out earlier traumas as potential

causes just because they happened further back in time. More would be needed to make the

opinion reliable.

       Finally, as for Dr. Cockerill’s lack of any symptom or performance validity testing,

Plaintiff is wrong to argue that this does not render his opinion unreliable. To be sure, a physician

may rely, in part, on a patient’s self-reported history. Opp. at 11–12 (citing Cooper v. Carl A.



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Nelson & Co., 211 F.3d 1008 (7th Cir. 2000); Stapleton v. Union Pac. R.R. Co., 2020 WL

2796707 (N.D. Ill.)). But courts routinely find that “a physician who evaluates a patient in

preparation for litigation”—like Dr. Cockerill—“should seek more than a patient’s self-report of

symptoms.” In re Paoli R.R. Yard PCB Litig., 35 F.3d 717, 762 (3d Cir. 1994); see also Amerson

v. Stechly, 2015 WL 6436341, at *2 (E.D. Mich.) (excluding expert’s causation opinion when he

“automatically” credited patients’ self-reports and “did not review any preexisting medical

records”). Indeed, Dr. Cockerill admitted to



                                      Ex. 2 at 47:4–11. Again, Boeing does not doubt that Ms.

Lopez-Lewis has experienced intense grief due to the crash. But to ensure the reliability of her

reported symptoms, and to ensure Dr. Cockerill was considering the full range of her symptoms,

Dr. Cockerill needed to perform validity testing here.

       Plaintiff’s attempt to distinguish Paoli also fails. Paoli warned that a physician should do

more to confirm a patient’s self-reported symptoms when forming an opinion for purposes of

litigation. 35 F.3d at 762. That warning did not turn on whether the opinion was about “toxic

exposure” as opposed to a “psychiatric diagnosis,” as Plaintiff suggests. See id. Nor is it enough

to say that unlike one of the doctors in Paoli, Dr. Cockerill reviewed medical records. See id. at

765. As Boeing noted, he did not review any pre-accident records even though Ms. Lopez-Lewis

had previous traumatic experiences. See Mot. at 11. And a mere examination alone is

insufficient. See Amerson, 2015 WL 6436341, at *2 (excluding causation opinion based on

symptoms reported during an examination when expert did not testify “that he considered

alternative causes” or show “that he employed any method to determine that alternative causes

were less likely.”). Plaintiff’s other cited case, United States v. Finley, does not say otherwise. In



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fact, it supports the need for validity testing and other forms of confirmation because there—

unlike here—the expert’s diagnosis “incorporate[d] testing, case history, interviews with the

patient and family, [and] medical factors.” 301 F.3d 1000, 1012 (9th Cir. 2002).

       And unlike Cooper and Stapleton, Dr. Cockerill’s opinion touches on complex issues

regarding mental health and causation. Indeed, Dr. Cockerill and one of Ms. Lopez-Lewis’s

treating physicians, Dr. Tonya Phillips, both recognized that

                                                       See, e.g., Ex. 9 (Phillips Dep.) at 72:15–23

(

                                                                           And Dr. Phillips

                                                                                            Id. at

61:16–20. The fact that Plaintiff’s two experts

                 that these issues are more complex than (and very different from) the issues in

Cooper and Stapleton, which respectively addressed whether a fall caused the plaintiff’s pain and

whether injuries caused by a train accident necessitated work restrictions. Neither case supports

the reliability of Dr. Cockerill’s methodology.

                                                  ***

       If the Court excludes Dr. Cockerill’s causation opinion, then his other opinions based on

                                                                                              —

should also be excluded because they are irrelevant under Rule 401. This is consistent with the

Court’s prior rulings. See Ex. 5 at 42:19–21. Dr. Cockerill’s other opinions would also unfairly

prejudice Boeing because they would invite the jury to speculate that Ms. Lopez-Lewis’s mental

health issues were                      without any evidence to that effect. See Fed. R. Evid. 403.




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But in any event, these other opinions are independently inadmissible for the reasons discussed

below.

         B.     Plaintiff confirms that Dr. Cockerill’s f                              opinion is
                speculative and unreliable.

         Plaintiff’s response confirms that Dr. Cockerill failed to substantiate or verify his

                           opinion. Plaintiff insists that Dr. Cockerill did



                                                                                but Plaintiff does not

provide any support for these propositions. Opp. at 14. And it makes little sense for an expert to

opine on



                                  See Mot. at 12. The same is true for her purported

              And while Plaintiff tries to rescue Dr. Cockerill’s                           opinion by

claiming that it is grounded in “established psychiatric methodology, including DSM-5 criteria”

(Opp. at 14), nothing in his report or deposition indicates that he ever used the DSM, or how he

used it, in reaching his                           opinion. In short, his opinion is “connected to

existing data only by . . . ipse dixit,” which makes it inadmissible under Rule 702. In re Dealer

Mgmt. Sys. Antitrust Litig., 581 F. Supp. 3d at 1083.

         Plaintiff is also wrong that Dr. Cockerill properly disclosed his opinion that Ms. Lopez-

Lewis will have                                                  . See Mot. at 12. Plaintiff’s argument

that this prognosis was “not a ‘new’ opinion but an extension of his report” underscores that it

appears nowhere in his report. Opp. at 14 (emphasis added). And Plaintiff simply ignores that Dr.

Cockerill admitted that his report did not discuss this prognosis. See Mot. at 12. It is ultimately

irrelevant whether this opinion is “new” or just an “extension” of a properly disclosed opinion. A


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party should not be obligated to prepare for any unknown number of “extension” opinions

flowing from an expert’s report. As this Court has previously held, an expert cannot disclose new

opinions in a deposition because that would undermine the entire purpose of Rule 26(a)(2),

which “is to provide notice to opposing counsel—before the deposition—as to what the expert

witness will testify.” Ciomber v. Coop. Plus, Inc., 527 F.3d 635, 642 (7th Cir. 2008) (emphasis

added); Ex. 5 at 10:14–19. Thus, this new, improperly disclosed prognosis must also be

excluded.

        C.        Plaintiff confirms that Dr. Cockerill’s opinion about                          is
                  unfounded speculation relying on a single misinterpreted study.

        As for Dr. Cockerill’s opinion related to                                       , Plaintiff

concedes that this is speculation about a future harm that might never materialize. Plaintiff

confirms that Dr. Cockerill is not opining that Ms. Lopez-Lewis

              Opp. at 15. Instead, his opinion is only that



                                        Id. (emphases added). This unfounded speculation regarding

a theoretical future injury is inadmissible. See, e.g., Kirschner v. Broadhead, 671 F.2d 1034, 1040

(7th Cir. 1982) (an opinion suggesting what is “merely possible” is inadmissible as evidence of

that fact); Jarrett v. Wright Med. Tech., Inc., 2021 WL 1165178, at *2, 4 (S.D. Ind.) (excluding

opinion regarding “potential future injuries” because they “are too speculative to be considered

reliable”).

        Plaintiff also misunderstands the only paper Dr. Cockerill relies on to support his opinion.

Plaintiff claims that the study supports his opinion because it

                                               Opp. at 15 (emphasis added). But “association” does

not equal causation. Just because


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                  As Rodman pointed out, “experts are properly disqualified if the studies on

which they rely merely suggest, without definitely concluding, the truth of a particular

assertion.” 564 F. Supp. 3d 879, 889 (N.D. Cal. 2020) (quoting Haynes ex rel. Haynes v. Nat’l

R.R. Passenger Corp., 319 F. App’x 541, 543 (9th Cir. 2009)). Dr. Cockerill’s study, at best,



                                                      Id.

       Plaintiff also says that In re Accutane Products Liability is inapplicable. To be clear,

Plaintiff cites the wrong Accutane. In the Accutane Boeing cites, the court underscored that an

expert “must not draw overreaching conclusions” from the studies they rely on—which is what

Dr. Cockerill did here. 2009 WL 2496444, at *2 (M.D. Fla.). In any event, Plaintiff’s Accutane

citation also supports Boeing. That case excluded a different expert’s opinion because it was

“merely plausible and not proven, making his opinion unreliable.” Opp. at 16. But that is exactly

the case here: Plaintiff concedes that Boeing’s cited passages “reflect the complexity of ongoing

research in this area” and that “scientific inquiry is ongoing.” Opp. at 15–16. Dr. Cockerill’s

opinions regarding                       must be excluded.

       D.      Dr. Cockerill’s new opinion that                                      was
               improperly disclosed and must be excluded under this Court’s prior order.

       Plaintiff also fails to show that Dr. Cockerill properly disclosed his opinion that

                                       Plaintiff admits that Dr. Cockerill’s report says only that



              Opp. at 17 (emphasis added); see Mot. at 15. Put another way,

                                    —and they are not—his report did not say that

                               like he did at his deposition. Plaintiff again claims that Dr.


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Cockerill’s                      opinion is a “natural and logical implication” of his report and

that there is nothing improper about “[c]larifying” his report. Opp. at 17. Again, this confirms

that this opinion does not appear in his report, and it should be excluded on that basis alone.

       Plaintiff also does not respond to Boeing’s argument that Dr. Cockerill has no reasonable

basis to opine that                                            As Dr. Cockerill conceded,



                                                                                             Mot.

at 14–15. Nor does Plaintiff address Boeing’s other arguments: that Dr. Cockerill cannot opine

that                                                                              , as it was also

improperly disclosed; and that he may not testify about Ms. Lopez-Lewis’s grief and litigation-

induced stress under the Court’s prior orders. See id. at 15. So here again, Plaintiff concedes

these arguments. Hodges, 474 F. Supp. 3d at 967; Baker, 2024 WL 5114168, at *10.

       For all these reasons and those in Boeing’s motion, the Court should exclude Dr.

Cockerill’s testimony.




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DATED March 26, 2025                        THE BOEING COMPANY


                                            By: /s/ Dan K. Webb
                                            One of Its Attorneys

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                               CERTIFICATE OF SERVICE

      I hereby certify that on March 26, 2025, I electronically filed the foregoing with the Clerk

of the Court using the CM/ ECF system, which will send notification of such filing to all

attorneys of record.


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